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                       UNITED STATES DISTRICT COOR                        FILED
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                     SOUTHERN DISTRICT OF CALIFO                                -····-··-'"·~·l.,
                                                                           OCT 20 2011 .
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UNITED STATES OF AMERICA,                  CASE NO. 11CR3 8 ~N DI~.rnn~n~'f 'w;.<,           "UA
                                                                  BY                          ;;);"r'loirY

                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
ESTHELA PAREDES-CARDENAS (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been   led in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

_X
 ___ of the offense(s) as charged in the Indictment:

     21:952 and 960; 18:2



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: OCTOBER 20, 2011                             wf-C­
                                           WILLIAM V. GALLO
                                           UNITED STATES DISTRICT JUDGE
